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“A CERTIFIED TRUE COPY ORIGINAL UNITED STATES

ATTEST JUDICIAL PANEL ON
MULTIDISTRICT LITIGATION

By Mecca Thompson on Feb 15, 2008

 

UNITED STATES JUDICIAL PANEL Feb 15. 2008
’
on
POWUDICIAL PANEL ON MULTIDISTRICT LITIGATION FILED
MULTIDISTRICT LITIGATION CLERK’S OFFICE

 

 

IN RE: CATHODE RAY TUBE (CRT)

ANTITRUST LITIGATION
Crago, Inc. v. Chunghwa Picture Tubes, Ltd., et al., )
N.D. California, C.A. No. 3:07-5944 ) MDL Ng. 19170
Andrew Kindt v. Matsushita Electric Industrial Co., ) Fy [ FE D
Ltd., et al., S.D. New York, C.A. No. 1:07-10322  )

FEB 2 6 2008

RICHARD W. WIEKING
CLERK, U.S. DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

TRANSFER ORDER

Before the entire Panel: Plaintiff in the Northern District of California action has moved,
pursuant to 28 U.S.C. § 1407, for coordinated or consolidated pretrial proceedings of this litigation
in the Northern District of California. All responding parties agree that centralization is appropriate
and variously support one or more of the following suggested transferee districts: the Northern
District of California, the District of Minnesota, the District of New Jersey, the Southern District of
New York, and the District of South Carolina.

This litigation currently consists of two actions pending in two districts, one action each in
the Northern District of California and the Southern District of New York.!

On the basis of the papers filed and hearing session held, we find that these actions involve
common questions of fact, and that centralization under Section 1407 in the Northern District of
California will serve the convenience of the parties and witnesses and promote the just and efficient
conduct of this litigation. These actions share factual questions relating to allegations that
defendants — manufacturers of cathode ray tubes (CRTs) and products containing CRTs — conspired
to fix prices of CRT products in violation of the Sherman Antitrust Act. Centralization under
Section 1407 will eliminate duplicative discovery; prevent inconsistent pretrial rulings, especially
with respect to class certification; and conserve the resources of the parties, their counsel and the \
judiciary.

We are persuaded that the Northern District of California is an appropriate transferee forum
for this litigation. One of the two actions before us and twelve potential tag-along actions are

 

' The Panel has been notified that 26 other related actions have been filed as follows: twelve actions
in the Northern District of California; three actions each in the District of New Jersey and the
Southern District of New York; two actions in the District of Minnesota; and one action each in the
District of Arizona, the Western District of Arkansas, the Northern District of Ohio, the District of
South Carolina, the Eastern District of Tennessee, and the District of Vermont. These actions will
be treated as potential tag-along actions. See Rules 7.4 and 7.5, R.P.J.P.M.L., 199 F.R.D. 425, 435-
36 (2001).
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already pending in that district, and some defendants and some plaintiffs support centralization there.

IT IS THEREFORE ORDERED that, pursuant to 28 U.S.C. § 1407, the action pending in
the Southern District of New York is transferred to the Northern District of California and, with the
consent of that court, assigned to the Honorable Samuel Conti for coordinated or consolidated
pretrial proceedings with the action pending there.

PANEL ON MULTIDISTRICT LITIGATION

Shp Magi *

“John G. Heyburn II

 

Chairman
D. Lowell Jensen J. Frederick Motz
Robert L. Miller, Jr. Kathryn H. Vratil

David R. Hansen Anthony J. Scirica
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UNITED STATES JUDICIAL PANEL
on
MULTIDISTRICT LITIGATION

CHAIRMAN: MEMBERS: :
Judge John G. Heyburn I] Judge D. Lowell Jensen Judge Kathryn H. Vratil DIRECT REPLY TO:
United States District Court United States District Court United States District Court Jeffery N. Liithi
Western District of Kentucky Northern District of California District of Kansas Clerk of the Panel
One Columbus Circle, NE
Judge J. Frederick Motz Judge David R. Hansen Thurgood Marshall Federal
United States District Court United States Court of Appeals Judiciary Bullding
District of Maryland Eighth Circuit Room G-255, Nerth Lobby
. Washington, D.C. 20002
Judge Robert L. Milier, Jr. Judge Anthony J. Scirica
United States District Court United States Court of Appeals Telephone; (202) 502-2800
Northern District of Indiana Third Circuit Fax: [202} 502-2888
. http://www.jpml.uscourts.goy

February 15, 2008

Honorable Samuel Conti
Senior U.S. District Judge

U.S. District Court

P.O. Box 36060

San Francisco, CA 94102-3434

Re: MDL No. 1917 -- IN RE: Cathode Ray Tube (CRT) Antitrust Litigation
Dear Judge Conti:

Attached are: (i) a letter directed to the Clerk of your district advising that the above-referenced
litigation has been transferred to you under 28 U.S.C. § 1407 and (ii) a copy of the related transfer order.

As you may know, all multidistrict litigation statistics are maintained by this office and submitted to
the Administrative Office for inclusion in the Annual Report of the Director. Consequently, once yearly we
will verify with your Clerk the actual number and status of the actions assigned to you, including actions
added to the docket either by transfer of tag-along actions or additional related actions originally filed in
your district. A copy of our inquiry to your Clerk will be directed to you for your information.

We have a Citrix remote access server for use by transferee courts in accessing our database for
information regarding assigned multidistrict litigation. The server can be accessed by you if you have a
Windows based personal computer with DCN access. Our database contains transferor and transferee
information for each action transferred by the Panel and actions filed in your district. Counsel identified in
the database are those who made appearances in the transferor districts, counsel who filed appearances
before the Panel and counsel assigned by you as liaison counsel. Also, each individual action is tracked
from the date of transfer to termination either by dismissal, remand to transferor district, remand to state
court, etc. If you are interested in utilizing the server, please feel free to contact our Systems Administrator,
Al Ghiorzi, to establish a password and receive instructional information.

Your attention is directed to Rule 7.6 of the Rules of Procedure of the Judicial Panel on Multidistrict
Litigation, 199 F.R.D. 425, 436-38 (2001), dealing with termination and remand of actions transferred by
the Panel. Specifically, the rule states, in part, the following:
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(a) Actions terminated in the transferee district court by valid judgment, including
but not limited to summary judgment, judgment of dismissal and judgment upon stipulation,
shall not be remanded by the Panel and shall be dismissed by the transferee district court....

(b) Each action transferred only for coordinated or consolidated pretrial proceedings
that has not been terminated in the transferee district court shall be remanded by the Panel to
the transferor district for trial...

(c) The Panel shall consider remand of each transferred action or any separable
claim, cross-claim, counterclaim or third-party claim at or before the conclusion of
coordinated or consolidated pretrial proceedings on...suggestion of the transferee district
court....

We will promptly act upon any written notices from you that remand of actions or separable claims

transferred under Section 1407 is appropriate.

If you appoint liaison counsel, in your pretrial order outlining liaison counsel's responsibilities,

please consider reinforcing Panel Rule 5.2(e), which provides:

If following transfer of any group of multidistrict litigation, the transferee district
court appoints liaison counsel, this Rule [Panel Rule 5.2, Service of Papers Filed Before the
Panel] shall be satisfied by serving each party in each affected action and all liaison counsel.
Liaison counsel designated by the transferee district court shall receive copies of all Panel
orders concerning their particular litigation and shall be responsible for distribution to the
parties for whom he or she serves as liaison counsel.

Feel free to contact this office if we may be of assistance to you.
Very truly,

Jeffery N. Lithi
Clerk of the Panel

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> MeeersAl Specialist

Attachments (Separate Documents)

cc:

Clerk, United States District Court
for the Northern District of California

JPML Form 23
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Printed on 02/15/2008

Judicial Panel on Multidistrict Litigation - Panel Attorney Service List
for
MDL 1917 - IN RE: Cathode Ray Tube (CRT) Antitrust Litigation

*** Report Key and Title Page ***

Please Note: This report is in alphabetical order by the last name of the attorney. A party may not be
represented by more then one attorney. See Panel rule 5.2(c).

Party Representation Key

* Signifies that an appearance was made on behalf of the party by the representing attorney.
# Specified party was dismissed in some, but not all, of the actions in which it was named as a party.
All counsel and parties no longer active in this litigation have been suppressed.

This Report is Based on the Following Data Filters
Docket: 1917 - Cathode Ray Tube (CRT) AT
For Open Cases
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Judicial Panel on Multidistrict Litigation - Panes Attorney Service List Page |

: Docket: 1917 - IN RE: Cathode Ray Tube (CRT) Antitrust Litigation

Status: Transferred on 02/15/2008
Transferee District: CAN

ATTORNEY - FIRM

Judge: Conti, Samuel

Printed on 02/15/2008
REPRESENTED PARTY(S)

 

Beijing-Matsushita Color,
No. 9 Jiuxianqiao N. Rd.
Dashanzi Chaoyang District
Beijing, China

Bendes, Barry

EDWARDS ANGELL PALMER & DODGE LLP
750 Lexington Avenue

New York, NY 10022

Chunghwa Picture Tubes,
No. 1127, Heping Rd.
Bade City, Taoyuan, Taiwan

Chunghwa Picture Tubes,

Lot |, Subang Hi-Tech Industrial Park
Batu Tiga, 4000 Shah Alam

Selango Darul Ehsan, Malaysia

Curran, Christopher M.
WHITE & CASE LLP
701 13th Street , N.W.
Washington, DC 20005-3807

Halling, Gary L.

SHEPPARD MULLIN RICHTER & HAMPTON LLP
Four Embarcadero Center

17th Floor

San Francisco, CA 94111-4109

Hitachi Asia, Ltd.,
16 Collyer Quay, #20-00 Hitachi Tower
Singapore 049318

Hitachi, Ltd.,
6-6, Marunouchi !-chome
Chiyoda-ku, Tokyo, 100-8280, Japan

Trico Display Devices Co.,
No. 16 Fenghui South Road West
Disctrict High-tech Development Zone
Xi'an, SX1710075

*** Bad Address ***

Trico Group Corp.,
1 Caihong Rd.
Xianyang City, Shaanxi Province 712021

=>
Beijing-Matsushita Color CRT Co., Ltd.

=> Phone: (212) 912-2911 Fax: (212) 308-4844 Email: bbendes@eapdlaw.com
Onion America, Inc.*

=>
Chunghwa Picture Tubes, Ltd.

=>
Chunghwa Picture Tubes (Malaysia) Sdn. Bhd.

=> Phone: (202) 626-3643 Fax: (202) 639-9355 Email: ccurran@whitecase.com
Toshiba America, Inc.*

=> Phone: (415) 434-9100 Fax: (415) 434-3947 Email: ghalling@sheppardmultins.com
Samsung SDI America, Inc.*

=>
Hitachi Asia, Ltd

=>
Hitachi, Ltd.

=>
[rico Display Devices Co., Ltd.

=>
Trico Group Corp.

 

Note: Please refer to the report title page for complete report scope and key.
: Case 4:07-cv-05944-JST Document 122 Filed 03/10/08 Page 7 of 8

‘
(Panel Attorney Service List for MDL 1,917 Continued)

ATTORNEY - FIRM

REPRESENTED PARTY(S)

Page 2

 

Koninklijke Philips Elect,
Breitner Center, Amstelplein 2, 1096 BC
Amsterdam, The Netherlands

LG Electronics, {nc.,

LG Twin Towers

20, Yeouido-dong, Youngdungpo-gu
Seoul

150-721 Korea

LP Displays International,
6th Floor, ING Tower

308 Des Voeux Road Central
Sheung Wan, Hong Kong

Lovell, Christopher

LOVELL STEWART HALEBIAN LLP
500 Fifth Avenue

Floor 58

New York, NY !0110

Matsushita Toshiba Pictur,
1-1, Saiwai-cho
Takatsuki-shi, Osaka 569-1193, Japan

Ostoyich, Joseph A.

HOWREY & SIMON

1299 Pennsylvania Avenue, N.|W
Washington, DC 20004

Roger, Kent M.

MORGAN LEWIS & BOCKIUS LLP
One Market, Spear Tower

San Francisco, CA 94105-1126

Samsung SDI Co., Ltd.,
575 Shin-dong, Youngtong-gu Suwon
Kyonggi, South Korea

*** Bad Address ***

Samtel Color, Ltd.,
52, Community Centre, New Friends Colony
New Delhi-t 10065

Simon, Bruce L.

PEARSON SIMON SOTER WARSHAW & PENNY LLP
44 Montgomery Street

Suite 1200

San Francisco, CA 94104

=>
Koninklijke Philips Electronics N.V.

=>
LG Electronics, Inc.

=>
LP Displays Intemational, Ltd.

=> Phone: (212) 608-1900 Fax: (212) 719-4677
Kindt, Andrew*

=>
Matsushita Toshiba Picture Display Co., Ltd.

=>
Philips Electronics North America Corp.*

=> Phone: (415) 442-1140 Fax: (415) 442-1001
Hitachi America, Ltd.*

=>
Samsung SDI Co., Ltd.

=>
Samtel Color, Ltd.

=> Phone: (415) 433-9000 Fax: (415) 433-9008 Email: bsimon@psswplaw.com
Crago, Inc.*

 

Note: Please refer to the report title page for complete report scope and key.
- : Case 4:07-cv-05944-JST Document 122 Filed 03/10/08 Page 8 of 8

(Panel Attorney Service List for MDL 1,917 Continued)

Page 3

 

ATTORNEY - FIRM REPRESENTED PARTY(S)
Thai CRT Co., Ltd., =>
L/F 26 Siam Cement Rd Thai CRT Co., Ltd.

Bangsue Dusit, Bangkok, Thailand

Toshiba Corp., =>

Legal Affairs Division Toshiba Corp.
I-1, Shibaura 1-Chome

Minato-Ku, Tokyo

105-8001 Japan

Viola, Anthony J. => Phone: (212) 912-2827 Fax: (212) 308-4844 Email: aviola@eapdlaw.com
EDWARDS ANGELL PALMER & DODGE LLP Orion Electric Co., Ltd.*

750 Lexington Avenue

New York, NY 10022

Yohai, David L. => Phone: (212) 310-8000 Fax: (212) 310-8007

WEIL GOTSHAL & MANGES LLP Matsushita Electric Industrial Co., Ltd.*; Panasonic Corp. of North America*
767 Fifth Avenue

New York, NY 10153-0119

 

Note: Please refer to the report title page for complete report scope and key.
